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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF NEW YORK


  YELENA RUDERMAN,                                       Civil Action No.: 1:19-cv-02987-CBA-RLM

                         Plaintiff,

                  v.

  LAW OFFICE OF YURIY PRAKHIN, P.C.
  and YURIY PRAKHIN, in both his individual
  and professional capacities,

                          Defendants.


                       OMNIBUS DECLARATION OF INNESSA M. HUOT

          Pursuant to 28 U.S.C. § 1746, INNESSA M. HUOT, being duly sworn, deposes and says:

          1.      I am a Partner at Faruqi & Faruqi, LLP, counsel for Plaintiff, Yelena Ruderman

  (“Plaintiff”) in the above-captioned action against Defendants Law Office of Yuriy Prakhin, P.C.

  (the “Firm”) and Yuriy Prakhin (“Prakhin”) (together, “Defendants”).

          2.      I submit this declaration in support of Plaintiff’s Motions In Limine Numbers 1

  through 8.

          3.      Prior to filing the instant action, Plaintiff’s counsel sent Defendants pre-litigation

  correspondence (the “Pre-Litigation Letter). See Exhibit 64, infra.

          4.      The Pre-Litigation Letter merely details Plaintiff’s claims and the facts supporting

  the same, in addition to inquiring as to whether Plaintiff’s claims could be settled short of litigation.

          5.      There is nothing in the Pre-Litigation Letter or in the record, generally, to remotely

  suggest bias by Plaintiff, undue delay, or the obstruction of a criminal investigation or prosecution

  of any kind—nor have Defendants at any time suggested otherwise.




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         6.      In discovery, Plaintiff produced a copy of her then-current résumé to provide

  evidence that she had satisfied her duty to mitigate her damages. See Exhibit 29, infra.

         7.      To the best of Plaintiff’s and the undersigned’s knowledge, Defendants did not

  possess a copy of the résumé before then.

         8.      Indeed, Defendants produced no other copies of Plaintiff’s résumé in discovery.

         9.      Defendants have not produced any SAGA calendar entries in discovery.

         10.     Defendants’ employee handbook (which was no longer in effect as of 2016 or

  2017), states, in part: “Employees will be required to enter into and strictly comply with a

  written confidentiality agreement as a condition of employment or continued employment.” See

  Exhibit 65, infra, at D11932; see also Exhibit 66, infra (attaching a separate version of Defendants’

  employee handbook, which was first produced as an exhibit to Defendants’ motion for summary

  judgment).

         11.     Nothing in the record suggests that Plaintiff was ever asked to sign the “written

  confidentiality agreement” referenced in the above excerpt, nor has any such “written

  confidentiality agreement” been produced in discovery.

         12.     At his deposition, Prakhin testified that he reviewed “accounting papers” on which

  the Firm’s Office Manager, Irene Raskin (“Raskin”), had jotted handwritten notes in order to

  determine Plaintiff’s total absences and, on each day, whether Plaintiff was absent to receive

  medical treatment for her disability.

         13.     The “accounting papers” Prakhin referenced were never produced in discovery.

         14.     In response to Plaintiff’s Federal Rule of Civil Procedure (“FRCP”) 30(b)(6)

  deposition notice, Defendants designated Alexander Pusachev to testify as to their “retention,




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  archiving, storage, and destruction/deletion policies and procedures” for “all electronically stored

  information.” See Exhibit 26, infra (Plaintiff’s FRCP 30(b)(6) deposition notice).

         15.     In January 2021, Plaintiff moved to compel Defendants to produce, inter alia,

  complete SAGA Records—as opposed to just summaries—for Plaintiff and all other attorneys

  from 2018, as well as from Plaintiff’s first term of employment from 2012 through 2017. See ECF

  No. 47 at 10-14.

         16.     On February 22, 2021, the Honorable Roanne L. Mann issued an Order stating, in

  relevant part: “By March 8, 2021, defendants must produce June through September 2018 SAGA

  entries of plaintiff and her comparators, and plaintiff’s SAGA entries from the one-year period

  prior to her termination[.]” ECF No. 52.

         17.     Defendants did not produce the 2016 and 2017 SAGA Records that Judge Mann

  Ordered them to produce.

         18.     Instead, in response to Judge Mann’s Order, Defendants provided Raskin’s March

  17, 2021 affidavit, which explains why Defendants could not obtain SAGA Records from 2016

  and 2017. See Exhibit 56, infra.

         19.     Defendants produced the above-referenced affidavit to explain why they could not

  comply with the letter of the Judge Mann’s Order.

         20.     In the parties’ Joint Pretrial Order, Defendants include several documents in their

  exhibit list as Exhibit No. 30, with the description, “Documents regarding the Firm’s clients and

  cases retained by Plaintiff.” ECF No. 121 at 32.

         21.     This description is inaccurate.

         22.     The documents Defendants identify were not retained by Plaintiff after the end of

  her employment.



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         23.    Rather, these documents were provided to Plaintiff as part of this litigation, when

  Defendants were represented by prior counsel.

         24.    Attached hereto as Exhibit 1 is a true and correct copy of the Affidavit of Yuriy

  Prakhin, Esq. in Support of Defendants’ Motion for Summary Judgement, dated May 10, 2021.

         25.    Attached hereto as Exhibit 2 is a true and correct copy of the Affidavit of Irene

  Raskin in Support of Defendants’ Motion for Summary Judgement, dated May 10, 2021.

         26.    Attached hereto as Exhibit 3 is a true and correct copy of the transcript of the

  deposition of Yuriy Prakhin, held on October 15, 2020.

         27.    Attached hereto as Exhibit 4 is a true and correct copy of the transcript of the

  deposition of Irene Raskin, held on November 13, 2020.

         28.    Attached hereto as Exhibit 5 is a true and correct copy of Plaintiff’s medical records

  from NYU Langone Health, dated October 8, 2018, Bates numbered PLAINTIFF 000015.

         29.    Attached hereto as Exhibit 6 is a true and correct copy of Plaintiff’s medical records

  from NYU Langone Health, dated November 5, 2018, Bates numbered PLAINTIFF 000016-22.

         30.    Attached hereto as Exhibit 7 is a true and correct copy of Plaintiff’s medical records

  from Columbia University, dated November 15, 2018, Bates numbered PLAINTIFF 000023-24.

         31.    Attached hereto as Exhibit 8 is a true and correct copy of Plaintiff’s medical records

  from Dr. Cinthi Pillai, Bates numbered PLAINTIFF 000025-32.

         32.    Attached hereto as Exhibit 9 is a true and correct copy of Plaintiff’s medical records

  from Dr. Anna Shostak, Bates numbered PLAINTIFF 000033-42.

         33.    Attached hereto as Exhibit 10 is a true and correct copy of Plaintiff’s medical

  records from Dr. Julia Giyaur, Bates numbered D014882-14890.




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         34.   Attached hereto as Exhibit 11 is a true and correct copy of Plaintiff’s medical

  records from NYU Langone Health, Bates numbered D014892-D14963.

         35.   Attached hereto as Exhibit 12 is a true and correct transcript, Bates numbered

  PLAINTIFF 001405-16, of an audio recording produced by Defendants, labeled 386-Inbound-

  Optimum 646726642-509.

         36.   Attached hereto as Exhibit 13 is a true and correct transcript, Bates numbered

  PLAINTIFF 001428-36, of an audio recording produced by Defendants, labeled 482-Inbound-

  Optimum 646726642-509.

         37.   Attached hereto as Exhibit 14 is a true and correct transcript, Bates numbered

  PLAINTIFF 001475, of an audio recording produced by Defendants, labeled 324-Internal-500-

  502.

         38.   Attached hereto as Exhibit 15 is a true and correct transcript, Bates numbered

  PLAINTIFF 001476, of an audio recording produced by Defendants, labeled 334-Internal-500-

  502.

         39.   Attached hereto as Exhibit 16 is a true and correct transcript, Bates numbered

  PLAINTIFF 001477, of an audio recording produced by Defendants, labeled 377-Internal-500-

  502.

         40.   Attached hereto as Exhibit 17 is a true and correct transcript, Bates numbered

  PLAINTIFF 001478, of an audio recording produced by Defendants, labeled 394-Internal-500-

  502.

         41.   Attached hereto as Exhibit 18 is a true and correct transcript, Bates numbered

  PLAINTIFF 001479, of an audio recording produced by Defendants, labeled 432-Internal-500-

  502.



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         42.     Attached hereto as Exhibit 19 is a true and correct transcript, Bates numbered

  PLAINTIFF 001480, of an audio recording produced by Defendants, labeled 436-Internal-500-

  502.

         43.     Attached hereto as Exhibit 20 is a true and correct copy of Google Hangouts

  messages between Plaintiff and Erica Larssen, dated October 3, 2018 through November 21, 2018

  and Bates numbered PLAINTIFF 001658.

         44.     Attached hereto as Exhibit 21 is a true and correct copy of payroll records for

  Plaintiff, which were produced by Defendants, Bates numbered D13052-13107.

         45.     Attached hereto as Exhibit 22 is a true and correct copy of an email dated October

  15, 2018 and Bates numbered D01679.

         46.     Attached hereto as Exhibit 23 is a true and correct copy of the transcript of the

  deposition of Irene Gabo, held on December 12, 2020.

         47.     Attached hereto as Exhibit 24 is a true and correct copy of an email dated November

  30, 2018 and Bates numbered D01566.

         48.     Attached hereto as Exhibit 25 is a true and correct copy of the transcript of the

  FRCP 30(b)(6) deposition of Yuriy Prakhin on behalf of the Firm, held November 9, 2020.

         49.     Attached hereto as Exhibit 26 is a true and correct copy of Plaintiff’s FRCP 30(b)(6)

  deposition notice, dated July 29, 2020.

         50.     Attached hereto as Exhibit 27 is a true and correct copy of the transcript of the

  deposition of Alexander Pusachev, held on December 8, 2020.

         51.     Attached hereto as Exhibit 28 is a true and correct copy of the transcript of the

  deposition of Yelena Ruderman, dated September 24, 2020.




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         52.    Attached hereto as Exhibit 29 is a true and correct copy of Plaintiff’s résumé, Bates

  numbered PLAINTIFF 000075-76.

         53.    Attached hereto as Exhibit 30 is a true and correct copy of Defendants’ subpoena

  to Mallilo & Grossman (“M&G”) and notice of the same, dated January 8, 2021.

         54.    Attached hereto as Exhibit 31 is a true and correct copy of the documents M&G

  produced in response to Defendants’ subpoena, Bates numbered D014867-76.

         55.    Attached hereto as Exhibit 32 is a true and correct copy of the Affidavit of Natalia

  Generalova, dated on May 6, 2021.

         56.    Attached hereto as Exhibit 33 is a true and correct copy of the Affidavit of Azfar

  Khan, dated on May 7, 2021.

         57.    Attached hereto as Exhibit 34 is a true and correct copy of the Affidavit of Vitaliy

  Lyutyk, dated on May 6, 2021.

         58.    Attached hereto as Exhibit 35 is a true and correct copy of the Affidavit of Laura

  Shvarts, dated on May 6, 2021.

         59.    Attached hereto as Exhibit 36 is a true and correct copy of emails dated December

  8, 2018, Bates numbered D01815-16.

         60.    Attached hereto as Exhibit 37 is a true and correct copy of emails dated October

  20, 2018 and November 2, 2018, Bates numbered D10969.

         61.    Attached hereto as Exhibit 38 is a true and correct copy of the Declaration of Yelena

  Ruderman, dated July 6, 2021.

         62.    Attached hereto as Exhibit 39 is a true and correct copy of emails dated August 14,

  2018, Bates numbered D01409-10.




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         63.     Attached hereto as Exhibit 40 is a true and correct copy of emails dated November

  14, 2018 and November 15, 2018, Bates numbered D01202-08.

         64.     Attached hereto as Exhibit 41 is a true and correct copy of emails dated September

  16, 2018 through October 7, 2018, Bates numbered D01546-52.

         65.     Attached hereto as Exhibit 42 is a true and correct excerpt of SAGA Records, Bates

  numbered D014546.

         66.     Attached hereto as Exhibit 43 is a true and correct copy of emails dated November

  14, 2018 and November 15, 2018, Bates numbered D01449-54.

         67.     Attached hereto as Exhibit 44 is a true and correct copy of emails dated August 27,

  2018, Bates numbered D06441.

         68.     Attached hereto as Exhibit 45 is a true and correct transcript, Bates numbered

  PLAINTIFF 001466-67, of an audio recording produced by Defendants, labeled 585-Inbound-

  Optimimum-6464726642-599.

         69.     Attached hereto as Exhibit 46 is a true and correct copy of Formal Opinion 2003-

  02: Undisclosed Taping of Conversations by Lawyers, issued by the Professional Responsibility

  Committee of the New York City Bar Association and dated February 2, 2003.

         70.     Attached hereto as Exhibit 47 is a true and correct copy of the transcript of the

  deposition of Tatyana Bianco, dated April 15, 2019, in the lawsuit captioned, Bianco v. Law Offices

  of Yuriy Prakhin, et al., Index No. 514493/2016 (Sup. Ct. Kings. Cty.).

         71.     Attached hereto as Exhibit 48 is a true and correct transcript, Bates numbered

  PLAINTIFF 001473-74, of an audio recording produced by Defendants, labeled 261-Internal-500-

  502.




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          72.   Attached hereto as Exhibit 49 are true and correct excerpts Defendants’ SAGA

  Records, Bates numbered D013786-13806.

          73.   Attached hereto as Exhibit 50 are true and correct excerpts of Defendants’ SAGA

  Summaries, Bates numbered D11596-11616.

          74.   Attached hereto as Exhibit 51 is a true and correct copy of an email dated September

  11, 2018, Bates numbered D07450.

          75.   Attached hereto as Exhibit 52 is a true and correct copy of an email dated September

  24, 2018, Bates numbered D10015.

          76.   Attached hereto as Exhibit 53 is a true and correct copy of emails dated August 6,

  2018, Bates numbered D10358.

          77.   Attached hereto as Exhibit 54 is a true and correct copy of emails dated November

  17, 2018 and November 20, 2018, Bates numbered D09644-46.

          78.   Attached hereto as Exhibit 55 is a true and correct copy of emails dated December

  8, 2018 and December 12, 2018, Bates numbered D11069.

          79.   Attached hereto as Exhibit 56 is a true and correct copy of the Affidavit of Irene

  Raskin, dated March 17, 2021.

          80.   Attached hereto as Exhibit 57 is a true and correct copy of the Reply Affidavit of

  Yuriy Prakhin, Esq. in Support of Defendants’ Motion for Summary Judgement, dated July 28,

  2021.

          81.   Attached hereto as Exhibit 58 is a true and correct copy of an email dated March

  10, 2018 and December 24, 2018, Bates numbered D01465-67.

          82.   Attached hereto as Exhibit 59 is a true and correct copy of emails dated September

  13, 2018 through April 3, 20202, Bates numbered D01663-76.



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         83.     Attached hereto as Exhibit 60 is a true and correct copy of emails dated March 30,

  2020, Bates numbered D01690-91.

         84.     Attached hereto as Exhibit 61 is a true and correct copy of emails dated January 9,

  2019, Bates numbered D01827-29.

         85.     Attached hereto as Exhibit 62 is a true and correct copy of the Reply Affidavit of

  Irene Raskin in Support of Defendants’ Motion for Summary Judgement, dated July 28, 2021.

         86.     Attached hereto as Exhibit 63 is a true and correct copy of the Declaration of Peter

  Coates, dated May 19, 2022 and Bates numbered PLAINTIFF 001950-56.

         87.     Attached hereto as Exhibit 64 is a true and correct copy of pre-litigation

  correspondence from Plaintiff’s counsel, dated March 4, 2019.

         88.     Attached hereto as Exhibit 65 is a true and correct copy of one version of the Firm’s

  employee handbook produced in discovery, Bates numbered D11911-41.

         89.     Attached hereto as Exhibit 66 is a true and correct copy of a second version of the

  Firm’s employee handbook, produced for the first time as an exhibit to the Affidavit of Irene

  Raskin in Support of Defendants’ Motion for Summary Judgement, dated May 10, 2021. See

  Exhibit 2, supra.

         90.     Attached hereto as Exhibit 67 is a true and correct copy of Defendants’ time sheets,

  Bates numbered D11839-88 and D11891-11902.

         91.     Attached hereto as Exhibit 68 is a true and correct copy of Defendants’ Summary

  Hours Reports, Bates numbered D11832-38 and D11889-90.

         92.     Attached hereto as Exhibit 69 is a true and correct copy of Plaintiff’s Charge of

  Discrimination filed with the U.S. Equal Employment Opportunity Commission, dated March 16,

  2019 and Bates numbered PLAINTIFF 000077-82.



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         93.     Attached hereto as Exhibit 70 is a true and correct copy of Plaintiff’s Complaint.

         94.     Attached hereto as Exhibit 71 is a true and correct copy of the transcript of the

  deposition of Erica Larssen, held on November 16, 2020.

         95.     Attached hereto as Exhibit 72 is a true and correct copy of various documents

  concerning the cases Plaintiff handled at the Firm that Plaintiff retained after the termination of

  her employment, Bates numbered PLAINTIFF 000083-87, 115-117, 121-126, 129-130, 151-153,

  156-157, 162-166, 168-169, 180-197, 210-211, 315-349, 351-352, 518-519, 546-547, 551, 576-

  652, 655-679, 681, 684-688, 690-700, 702-703.

         96.     Attached hereto as Exhibit 73 is a true and correct copy of emails dated October

  10, 2018, Bates numbered D01678.

         97.     I declare under penalty of perjury that the foregoing is true and correct to the best

  of my knowledge.

  Dated: November 14, 2022
         New York, New York


                                               Innessa M. Huot




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